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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    RONDA AUSTIN, et al.,                               Case No.16-cv-07185-HSG
                                                       Plaintiffs,
                                   8
                                                                                            ORDER GRANTING MOTION FOR
                                                 v.                                         PRELIMINARY APPROVAL OF CLASS
                                   9
                                                                                            ACTION SETTLEMENT
                                  10    FOODLINER, INC.,
                                                                                            Re: Dkt. No. 49
                                                       Defendant.
                                  11

                                  12
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                                  13           Pending before the Court is the unopposed motion for preliminary approval of class action

                                  14   settlement filed by Plaintiffs Ronda Austin, Christopher Corduck, Ernest Dial, Billy Wayne

                                  15   Gibson, and Bobby G. Smith. Dkt. No. 49. For the reasons set forth below, the Court GRANTS

                                  16   Plaintiffs’ motion.

                                  17   I.      BACKGROUND
                                  18           A.     Factual Allegations
                                  19           Plaintiffs are former employees of Defendant Foodliner, Inc. Dkt. No. 23 (First Amended

                                  20   Complaint, or “FAC”) ¶¶ 12-17. Plaintiffs worked as truck drivers for Defendant, and seek to

                                  21   bring suit on behalf of a class of “[a]ll individuals whom FOODLINER employed as truck drivers

                                  22   in California at any time during the Class Period,” id. ¶ 35, which commenced on November 3,

                                  23   2012, see id. ¶ 12.

                                  24           Plaintiffs allege that their primary duty is to haul materials from one location to another

                                  25   using Defendant’s trucks. Id. ¶ 23. Defendant controls all logistical details, like drivers’

                                  26   schedules and what specific duties are to be performed, and pays drivers on a per-trip basis. Id. ¶¶

                                  27   24-25. Plaintiffs allege that they

                                  28                  are not paid for all hours worked, in particular, for their rest periods;
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                                                      for non-productive time, including but not limited to, for dead
                                   1                  mileage, dead running or dead-heading (“dead-heading”) (when the
                                                      truck driver operates without carrying any cargo or load); for work
                                   2                  performed pre- and post-trip; for the time spent fueling their
                                                      vehicles; for the time spent completing necessary paperwork; for
                                   3                  standby time; and for time spent attending required safety meetings
                                                      and trainings. Finally, Plaintiffs and other truck drivers are not paid
                                   4                  separately for their missed meal and rest periods.
                                   5   Id. ¶ 27. Further, Defendant allegedly failed to reimburse the putative class for certain eligible

                                   6   costs incurred while on the job, id. ¶ 30, and failed to provide accurate wage statements, id. ¶ 31.

                                   7          B.      Procedural Posture
                                   8          Plaintiffs originally filed suit in state court on November 3, 2016. Dkt. No. 1, Ex. A.

                                   9   Defendant filed a notice of removal on December 15, 2016. Dkt. No. 1. On October 20, 2017,

                                  10   Plaintiffs filed the FAC, Dkt. No. 23, which Defendant answered on November 13, 2017, Dkt. No.

                                  11   29. On April 19, 2018, the parties notified the Court that they had reached a settlement agreement,

                                  12   see Dkt. No. 43, after which Plaintiffs filed this unopposed motion for preliminary approval of the
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                                  13   class settlement, Dkt. No. 49 (“Mot.”).

                                  14          C.      Settlement Agreement
                                  15          After conducting extensive discovery, the parties went to mediation on August 16, 2017.

                                  16   See Dkt. No. 49-1 (Declaration of Hunter Pyle, or “Pyle Decl.”) ¶¶ 19-22. Although the case did

                                  17   not settle at that session, the mediator later made a proposal on April 4, 2018. Id. ¶ 22. The

                                  18   parties accepted a modified version of that proposal and reached a settlement. Id.; see also Dkt.

                                  19   No. 49-2 (Settlement Agreement or “SA”). The Settlement Agreement’s key terms are as follows.

                                  20                  1.      Class Definition
                                  21          The class is defined as “all individuals employed by Foodliner as truck drivers in

                                  22   California at any time during the class period,” which “means November 3, 2012 continuing

                                  23   through and including the date of the Court’s order regarding preliminary approval of the

                                  24   Settlement.” SA ¶¶ 5-6. There is also a Private Attorneys General Act (“PAGA”) subclass (“the

                                  25   PAGA Subclass”), “which shall consist of all Class Members who were employed at any time

                                  26   during the time period from October 31, 2015, through the date of Preliminary Approval of the

                                  27   Settlement.” Id. ¶ 53(b).

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                                                      2.      Settlement Benefits
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                                   2          Defendant agrees to pay a gross settlement amount of $1.2 million, which “is inclusive of

                                   3   all payments to Class Members, the Class Counsel Fees and Costs Payment, the Class

                                   4   Representative Service Payment, the Settlement Administration Fees, withholdings for wage

                                   5   payments made to Class Members under this Settlement, and payment to the [California Labor &

                                   6   Workforce Development Agency] for its share of PAGA penalties.” Id. ¶ 40. This amount does

                                   7   not include employer payroll taxes. Id. ¶ 15. The proceeds will be distributed as follows:

                                   8                  Each Participating Class Member shall receive a proportionate share
                                                      that is equal to (i) the number of workweeks he or she worked
                                   9                  during the time period from November 3, 2012, through the date of
                                                      Preliminary Approval of the Settlement, divided by (ii) the total
                                  10                  number of workweeks worked by all Participating Class Members
                                                      during the time period from November 3, 2012, through the date of
                                  11                  Preliminary Approval of the Settlement.

                                  12   Id. ¶ 53(a). Furthermore, one quarter of the proceeds allocated to PAGA penalties ($81,405) will
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                                  13   be distributed to the PAGA subclass as follows:

                                  14                  Each Participating Class Member who is a member of the PAGA
                                                      Subclass will receive a proportionate share of money allocated to
                                  15                  that subclass that is equal to (i) the number of workweeks he or she
                                                      worked during the time period from October 31, 2015, through the
                                  16                  date of Preliminary Approval of the Settlement, divided by (ii) the
                                                      total number of workweeks worked by all Participating Class
                                  17                  Members who are members of the PAGA Subclass during the time
                                                      period from October 31, 2015, through the date of Preliminary
                                  18                  Approval of the Settlement.

                                  19   Id. ¶ 53(b). Class members “will not have to make a claim in order to receive a distribution.” Id.

                                  20   ¶ 41. No portion of the settlement fund will revert to Defendant, and any unclaimed portion of the

                                  21   fund will ultimately be paid to Legal Aid at Work. See id. ¶¶ 41, 44.

                                  22                  3.      Release
                                  23          Upon final approval of the settlement, Plaintiffs agree to “forever release, discharge, and

                                  24   . . . hold harmless Foodliner” from “all claims that were plead in the Action, including the

                                  25   Operative Complaint, or that could have been plead based on the facts alleged in the Action.” Id.

                                  26   ¶¶ 28, 73. “The Parties intend that the Settlement described in this Agreement will release and

                                  27   preclude any further claim, whether by lawsuit, administrative claim or action, arbitration,

                                  28   demand, or other action of any kind, by each and all of the Participating Class Members to obtain
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                                   1   a recovery based on, arising out of, and/or related to any and all of the Released Claims.” Id. ¶ 74.

                                   2   Further, the parties intend that the Settlement Agreement act as a “general release precluding any

                                   3   further claim . . . or other action of any kind, by the Plaintiffs, to obtain a recovery based on any

                                   4   claim that could have been asserted against Foodliner as well as any other Released Party in

                                   5   connection with his or her employment with Foodliner through the date that this Settlement is

                                   6   signed by Plaintiffs.” See id. ¶ 75.

                                   7                  4.      Class Notice
                                   8          Within 30 days of this Court’s granting preliminary approval, Defendant will provide the

                                   9   settlement administrator with relevant data about the class members. See id. ¶ 59. Within 10 days

                                  10   of receipt, the settlement administrator will send the notice of proposed settlement by first-class

                                  11   mail. Id. ¶ 60; see also SA, Ex. A (proposed notice of proposed settlement, or “Notice”). The

                                  12   Notice includes the nature of the action, the terms of the proposed settlement, the recipient’s
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                                  13   estimated settlement payment, and information about the release of claims against Defendant. It

                                  14   also includes information on how to opt out from and object to the settlement, as well as the

                                  15   relevant deadlines.

                                  16                  5.      Opt-Out Procedure
                                  17          The parties propose that class members who wish to opt out be required to mail to the

                                  18   settlement administrator a request for exclusion, containing the member’s “full name; all other

                                  19   names used during employment with Foodliner; date of birth; the last four digits of the social

                                  20   security number or the employee identification number; and the telephone number.” Id. ¶ 62. The

                                  21   parties propose that such requests be “deemed timely only if postmarked on or before forty-five

                                  22   (45) calendar days following the date of initial mailing of the Notice by the Settlement

                                  23   Administrator.” Id.

                                  24                  6.      Incentive Award
                                  25          Plaintiff Austin intends to apply for an incentive award of no more than $10,000. Id. ¶ 45.

                                  26   Plaintiffs Corduck, Dial, Gibson, and Smith intend to apply for incentive awards of no more than

                                  27   $7,500 each. Id. ¶ 46. Defendant agrees not to oppose any of those applications. See id.¶¶ 45-46.

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                                                       7.      Attorney’s Fees and Costs
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                                   2            Plaintiffs intends to file an application for attorney’s fees not to exceed 33 percent of the

                                   3   gross settlement amount, id. ¶ 49, or $399,960, see Pyle Decl. ¶ 25(d). Plaintiffs further intends to

                                   4   seek costs and expenses “not to exceed reasonable actual costs incurred by Class Counsel.” SA ¶

                                   5   49.

                                   6   II.      PROVISIONAL CLASS CERTIFICATION
                                   7            Provisional class certification is a prerequisite to preliminary approval of a class action

                                   8   settlement. Here, the Court finds that provisional class certification is appropriate.

                                   9            A.     Legal Standard
                                  10            Plaintiffs bear the burden of showing by a preponderance of the evidence that class

                                  11   certification is appropriate under Federal Rule of Civil Procedure 23. See Wal-Mart Stores, Inc. v.

                                  12   Dukes, 564 U.S. 338, 350-51 (2011). Class certification is a two-step process. First, the plaintiffs
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                                  13   must establish that each of the four requirements of Rule 23(a) are met: numerosity, commonality,

                                  14   typicality, and adequacy of representation. Id. at 349. Second, the plaintiffs must establish that at

                                  15   least one of the bases for certification under Rule 23(b) is met. Where, as here, the plaintiffs seek

                                  16   to certify a class under Rule 23(b)(3), they must show that “questions of law or fact common to

                                  17   class members predominate over any questions affecting only individual members, and that a class

                                  18   action is superior to other available methods for fairly and efficiently adjudicating the

                                  19   controversy.” Fed. R. Civ. P. 23(b)(3).

                                  20            B.     Analysis
                                  21            To determine whether provisional certification is appropriate, the Court considers whether

                                  22   the requirements of Rule 23(a) and Rule 23(b)(3) have been met. As discussed in more detail

                                  23   below, the Court finds that they have.

                                  24                   1.      Rule 23(a)
                                  25                           a.      Numerosity
                                  26            Rule 23(a)(1) requires that the putative class be “so numerous that joinder of all members

                                  27   is impracticable.” The Court finds that numerosity is satisfied here because joinder of the

                                  28   estimated 214 proposed class members would be impracticable. See Pyle Decl. ¶ 26; SA ¶ 77.
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                                                               b.      Commonality
                                   1

                                   2           Rule 23(a)(2) requires that “there are questions of law or fact common to the class.” A

                                   3   contention is sufficiently common where “it is capable of classwide resolution—which means that

                                   4   determination of its truth or falsity will resolve an issue that is central to the validity of each one of

                                   5   the claims in one stroke.” Dukes, 564 U.S at 350. Commonality exists where “the circumstances

                                   6   of each particular class member vary but retain a common core of factual or legal issues with the

                                   7   rest of the class.” Parra v. Bashas’, Inc., 536 F.3d 975, 978-79 (9th Cir. 2008). “What matters to

                                   8   class certification . . . is not the raising of common ‘questions’—even in droves—but rather the

                                   9   capacity of a classwide proceeding to generate common answers apt to drive the resolution of the

                                  10   litigation.” Dukes, 564 U.S at 350 (citation omitted) (original emphasis). Even a single common

                                  11   question is sufficient to meet this requirement. See id. at 359.

                                  12           Common questions of law and fact in this action include: whether Defendant paid putative
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                                  13   class members “on a piece-rate basis”; whether Defendant paid putative class members for all of

                                  14   the time they worked; whether Defendant provided the appropriate rest and meal periods; whether

                                  15   Defendant provided accurate wage statements within the meaning of section 226 of the California

                                  16   Labor Code; whether Defendant “reimbursed Class Members for the work-related use of their

                                  17   personal cell phones”; whether Defendant paid proposed class members all wages owed at the

                                  18   time of their termination; and whether Defendant violated California’s Unfair Competition Law,

                                  19   Cal. Bus. & Prof. Code §§ 17200 et seq., and PAGA. Mot. at 7; see also Pyle Decl. ¶ 27.

                                  20   Accordingly, the Court finds that the commonality requirement is met in this case.

                                  21                           c.      Typicality
                                  22           Rule 23(a)(3) requires that “the claims or defenses of the representative parties are typical

                                  23   of the claims or defenses of the class.” “The test of typicality is whether other members have the

                                  24   same or similar injury, whether the action is based on conduct which is not unique to the named

                                  25   plaintiffs, and whether other class members have been injured by the same course of conduct.”

                                  26   Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992) (internal quotation marks

                                  27   omitted). That said, under the “permissive standards” of Rule 23(a)(3), the claims “need not be

                                  28   substantially identical.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998).
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                                   1          Here, the claims raised by Plaintiffs and the putative class members are identical, and arise

                                   2   under the same provisions of the California Labor Code. See Wang v. Chinese Daily News, Inc.,

                                   3   231 F.R.D. 602, 608 (C.D. Cal. 2005) (“Since the named Plaintiffs raise the same Labor Code

                                   4   violations as other putative class members, their claims are typical of the class.”), rev’d and

                                   5   vacated on other grounds, 737 F.3d 538 (9th Cir. 2013) (en banc); see also Mot. at 9; Pyle Decl. ¶

                                   6   28. Moreover, Plaintiffs have not alleged any individual claims. See Mot. at 9; Pyle Decl. ¶ 28.

                                   7   This is sufficient to satisfy the typicality requirement.

                                   8                          d.      Adequacy of Representation
                                   9          Rule 23(a)(4) requires that the “representative parties will fairly and adequately represent

                                  10   the interests of the class.” The Court must address two legal questions: (1) whether the named

                                  11   Plaintiffs and their counsel have any conflicts of interest with other putative class members, and

                                  12   (2) whether the named Plaintiffs and their counsel will prosecute the action vigorously on behalf
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                                  13   of the proposed class. See In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 462 (9th Cir. 2000).

                                  14   This inquiry “tend[s] to merge” with the commonality and typicality criteria. Gen. Tel. Co. of Sw.

                                  15   v. Falcon, 457 U.S. 147, 158 n.13 (1982). In part, these requirements determine whether “the

                                  16   named plaintiff’s claim and the class claims are so interrelated that the interests of the class

                                  17   members will be fairly and adequately protected in their absence.” Id.

                                  18          The Court is unaware of any actual conflicts of interest in this matter, and no evidence in

                                  19   the record suggests that either Plaintiffs or proposed class counsel have a conflict with other class

                                  20   members. See Mot. at 10. Further, Plaintiffs’ counsel has been appointed class counsel in

                                  21   multiple class actions in state court. See Pyle Decl. ¶ 67. The Court finds that, to date, proposed

                                  22   class counsel and Plaintiffs have prosecuted this action vigorously on behalf of the putative class,

                                  23   and there is no reason to suspect they will not continue to do so. The adequacy of representation

                                  24   requirement is therefore satisfied.

                                  25                  2.      Rule 23(b)(3)
                                  26          To certify a class, Plaintiffs must also satisfy the two requirements of Rule 23(b)(3). First,

                                  27   “questions of law or fact common to class members [must] predominate over any questions

                                  28   affecting only individual members.” Fed. R. Civ. P. 23(b)(3). And second, “a class action [must
                                                                                          7
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                                   1   be] superior to other available methods for fairly and efficiently adjudicating the controversy.” Id.

                                   2   The Court finds that both requirements are met in this case.

                                   3                          a.      Predominance
                                   4           “The predominance inquiry tests whether proposed classes are sufficiently cohesive to

                                   5   warrant adjudication by representation.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045

                                   6   (2016) (internal quotation marks omitted). The Supreme Court has defined an individual question

                                   7   as “one where members of a proposed class will need to present evidence that varies from member

                                   8   to member, while a common question is one where the same evidence will suffice for each

                                   9   member to make a prima facie showing [or] the issue is susceptible to generalized, class-wide

                                  10   proof.” Id. (citation and internal quotation marks omitted) (original brackets). This “inquiry asks

                                  11   whether the common, aggregation-enabling, issues in the case are more prevalent or important

                                  12   than the non-common, aggregation-defeating, individual issues.” Id. (citation and internal
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                                  13   quotation marks omitted).

                                  14           Here, as explained above, there are common questions of fact and law among Plaintiffs and

                                  15   the putative class, and both groups raise the same claims. See Mot. at 8-9. Because of this,

                                  16   Plaintiffs “will be able to establish liability for these common issues on a classwide basis,”

                                  17   applying “common standards of proof.” See Mot. at 8. Accordingly, the Court finds that the

                                  18   “common, aggregation-enabling[] issues” raised by the claims at issue are “more prevalent or

                                  19   important” than those questions affecting only individual members of the proposed class, and for

                                  20   purposes of settlement, finds the predominance inquiry satisfied. See Tyson Foods, 136 S. Ct. at

                                  21   1045.

                                  22                          b.      Superiority
                                  23           The superiority requirement tests whether “a class action is superior to other available

                                  24   methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). The

                                  25   Court considers four non-exclusive factors:

                                  26                  (A)     the class members’ interests in individually controlling the
                                                              prosecution or defense of separate actions;
                                  27
                                                      (B)     the extent and nature of any litigation concerning the
                                  28                          controversy already begun by or against class members;

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                                   1                  (C)       the desirability or undesirability of concentrating the
                                                                litigation of the claims in the particular forum; and
                                   2
                                                      (D)       the likely difficulties in managing a class action.
                                   3

                                   4   Id. Here, because common legal and factual questions predominate over individual ones, and

                                   5   taking into account the substantial size of the putative class, the Court finds that the judicial

                                   6   economy achieved through common adjudication renders a class action the superior method for

                                   7   deciding these claims.

                                   8          Accordingly, the Court finds that provisional class certification for purposes of preliminary

                                   9   approval is appropriate.

                                  10          C.      Class Representative and Class Counsel
                                  11          Because the Court finds that Plaintiffs meet the commonality, typicality, and adequacy

                                  12   requirements of Rule 23(a), the Court appoints Plaintiffs as class representatives. When a court
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                                  13   certifies a class, it must also appoint class counsel. Fed. R. Civ. P. 23(c)(1)(B). Factors that

                                  14   courts should consider when making that decision include:

                                  15                  (i)       the work counsel has done in identifying or investigating
                                                                potential claims in the action;
                                  16
                                                      (ii)      counsel’s experience in handling class actions, other
                                  17                            complex litigation, and the types of claims asserted in the
                                                                action;
                                  18
                                                      (iii)     counsel’s knowledge of the applicable law; and
                                  19
                                                      (iv)      the resources that counsel will commit to representing the
                                  20                            class.

                                  21   Fed. R. Civ. P. 23(g)(1)(A).

                                  22          In light of Plaintiffs’ counsel’s extensive experience with wage-and-hour class actions (and

                                  23   the subject matter more generally), see Pyle Decl. ¶¶ 6-10, 12-14, and his diligence in prosecuting

                                  24   this action to date, the Court appoints Hunter Pyle and Chad Saunders of Hunter Pyle Law as class

                                  25   counsel.

                                  26   III.   PRELIMINARY SETTLEMENT APPROVAL
                                  27          Having provisionally certified the class, the Court next turns to the question of preliminary

                                  28   approval of the settlement.
                                                                                           9
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                                              A.         Legal Standard
                                   1

                                   2          Federal Rule of Civil Procedure 23(e) provides that “[t]he claims, issues, or defenses of a

                                   3   certified class may be settled . . . only with the court’s approval.” “The purpose of Rule 23(e) is to

                                   4   protect the unnamed members of the class from unjust or unfair settlements affecting their rights.”

                                   5   In re Syncor ERISA Litig., 516 F.3d 1095, 1100 (9th Cir. 2008). Accordingly, before a district

                                   6   court approves a class action settlement, it must conclude that the settlement is “fundamentally

                                   7   fair, adequate and reasonable.” In re Heritage Bond Litig., 546 F.3d 667, 674-75 (9th Cir. 2008).

                                   8          Where the parties reach a class action settlement prior to class certification, district courts

                                   9   apply “a higher standard of fairness and a more probing inquiry than may normally be required

                                  10   under Rule 23(e).” Dennis v. Kellogg Co., 697 F.3d 858, 864 (9th Cir. 2012) (citation and internal

                                  11   quotation marks omitted). In those situations, courts “must be particularly vigilant not only for

                                  12   explicit collusion, but also for more subtle signs that class counsel have allowed pursuit of their
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                                  13   own self-interests and that of certain class members to infect the negotiations.” In re Bluetooth

                                  14   Headset Prods. Liab. Litig., 654 F.3d 935, 947 (9th Cir. 2011).

                                  15          Courts may preliminarily approve a settlement and direct notice to the class if the proposed

                                  16   settlement: (1) appears to be the product of serious, informed, non-collusive negotiations; (2) has

                                  17   no obvious deficiencies; (3) does not grant improper preferential treatment to class representatives

                                  18   or other segments of the class; and (4) falls within the range of possible approval. See In re

                                  19   Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal. 2007). Courts lack the

                                  20   authority, however, to “delete, modify or substitute certain provisions. The settlement must stand

                                  21   or fall in its entirety.” Hanlon, 150 F.3d at 1026.

                                  22          B.         Analysis
                                  23          The Court considers each factor set forth in Tableware, and finds that preliminary approval

                                  24   is appropriate.

                                  25                     1.    Settlement Process & Obvious Deficiencies
                                  26          The first factor the Court considers is the means by which the parties settled the action.

                                  27   “An initial presumption of fairness is usually involved if the settlement is recommended by class

                                  28   counsel after arm’s-length bargaining.” Harris v. Vector Mktg. Corp., No. 08-cv-5198, 2011 WL
                                                                                         10
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                                   1   1627973, at *8 (N.D. Cal. Apr. 29, 2011). Here, the parties “reached a non-collusive settlement

                                   2   after discovery and extended negotiations,” ultimately accepting a “mediator’s proposal.” Pyle

                                   3   Decl. ¶ 34. As such, class counsel believes that the proposed settlement is fair, adequate, and

                                   4   reasonable. See Mot. at 13-19. The Court thus finds that this factor weighs in favor of

                                   5   preliminary approval.

                                   6          Second, the Court finds no obvious deficiencies in the settlement agreement, which weighs

                                   7   in favor of preliminary approval.

                                   8                  2.       Preferential Treatment
                                   9          The Court next considers whether the settlement agreement provides preferential treatment

                                  10   to any class member. The Ninth Circuit has instructed that district courts must be “particularly

                                  11   vigilant” for signs that counsel have allowed the “self-interests” of “certain class members to

                                  12   infect negotiations.” Bluetooth Headset, 654 F.3d at 947. For that reason, courts in this district
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                                  13   have consistently stated that preliminary approval of a class action settlement is inappropriate

                                  14   where the proposed agreement “improperly grant[s] preferential treatment to class

                                  15   representatives.” Tableware, 484 F. Supp. 2d at 1079.

                                  16          Although the Settlement Agreement authorizes Plaintiff Austin and the other named

                                  17   Plaintiffs to seek incentive awards of up to $10,000 and $7,500, respectively, for their roles as

                                  18   named plaintiffs in this lawsuit, see SA ¶¶ 45-46, the Court will ultimately determine whether they

                                  19   are entitled to such an award, as well as the reasonableness of the amounts requested. Incentive

                                  20   awards “are intended to compensate class representatives for work done on behalf of the class, to

                                  21   make up for financial or reputational risk undertaken in bringing the action.” Rodriguez v. W.

                                  22   Publ’g Corp., 563 F.3d 948, 958-59 (9th Cir. 2009). At the final fairness hearing, Plaintiffs will

                                  23   be required to provide sufficient evidence to allow the Court to “evaluate [a named plaintiff’s]

                                  24   award[] individually, using relevant factors includ[ing] the actions the plaintiff has taken to protect

                                  25   the interests of the class, the degree to which the class has benefitted from those actions, . . . [and]

                                  26   the amount of time and effort the plaintiff expended in pursuing the litigation . . . .” See Stanton v.

                                  27   Boeing Co., 327 F.3d 938, 977 (9th Cir. 2003) (internal quotation marks omitted) (original

                                  28   ellipses). The Court will consider that evidence and evaluate the reasonableness of any incentive
                                                                                          11
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                                   1   award request accordingly. Nevertheless, because incentive awards are not per se unreasonable,

                                   2   and because there are no other indications of preferential treatment at this juncture, the Court finds

                                   3   that this factor still weighs in favor of preliminary approval. See Rodriguez, 563 F.3d at 958

                                   4   (finding that “[i]ncentive awards are fairly typical in class action cases” and “are discretionary”)

                                   5   (emphasis omitted).

                                   6                  3.      Range of Possible Approval
                                   7          Last, the Court considers whether the settlement is within the range of possible approval.

                                   8   To evaluate whether the settlement amount is adequate, “courts primarily consider plaintiffs’

                                   9   expected recovery balanced against the value of the settlement offer.” Tableware, 484 F. Supp. 2d

                                  10   at 1080. This requires the Court to evaluate the strength of Plaintiffs’ case.

                                  11          Here, individual class members’ recovery will be proportionate relative to the claims of

                                  12   other members. See SA ¶ 53. Plaintiffs predicted the class’s “realistic total recovery” to be
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                                  13   $1,117,935.53. Pyle Decl. ¶ 55; see also id. ¶¶ 35-54 (describing rationale for calculation). The

                                  14   parties subsequently agreed on a gross settlement amount of $1.2 million, which “exceeds

                                  15   Plaintiffs’ reasonably forecasted recovery by a little more than 7.5%.” Id. ¶ 55. The gross

                                  16   settlement amount constitutes approximately 22 percent of Plaintiffs’ maximum possible recovery

                                  17   at trial, which Plaintiffs calculated to be $5,553,480.42. See Pyle Decl. ¶¶ 36, 40, 44, 46, 50, 52.

                                  18   Given the substantial litigation risks enumerated by Plaintiffs, the Court finds that this amount

                                  19   weighs in favor of granting preliminary approval. For example, Plaintiffs acknowledge that their

                                  20   claim that Defendant failed to provide appropriate meal and rest periods “carried significant risks

                                  21   of both non-certification and reduction on the merits,” id. ¶ 41, and that there “was significant risk

                                  22   of non-recovery” on their waiting time penalties claim “given Defendant’s good-faith defenses to

                                  23   Plaintiffs’ underlying claims,” id. ¶ 47; see also id. ¶¶ 37 (highlighting risks to Plaintiffs’ claim

                                  24   that Defendant failed to pay wages for all hours worked), 45 (reimbursement claim), 51 (wage

                                  25   statements claim), 53 (PAGA claims).

                                  26          Accordingly, having weighed the relevant factors, the Court preliminarily finds that the

                                  27   settlement agreement is fair, reasonable, and adequate, and grants preliminary approval.

                                  28
                                                                                          12
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                                                C.     Proposed Class Notice
                                   1

                                   2            For Rule 23(b)(3) class actions, “the court must direct to class members the best notice that

                                   3   is practicable under the circumstances, including individual notice to all members who can be

                                   4   identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B).

                                   5            With respect to the content of the notice itself, the notice must clearly and concisely state

                                   6   in plain, easily understood language:

                                   7                   (i)     the nature of the action;

                                   8                   (ii)    the definition of the class certified;

                                   9                   (iii)   the class claims, issues, or defenses;

                                  10                   (iv)    that a class member may enter an appearance through an
                                                               attorney if the member so desires;
                                  11
                                                       (v)     that the court will exclude from the class any member who
                                  12                           requests exclusion;
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                                  13                   (vi)    the time and manner for requesting exclusion; and

                                  14                   (vii)   the binding effect of a class judgment on members[.]

                                  15   Id.

                                  16            The Court approves of the parties’ proposed Notice, see SA, Ex. A, which satisfies all of

                                  17   the criteria set forth in Rule 23(c)(2)(B) and is accordingly the best practicable form of notice

                                  18   under the circumstances. Moreover, Plaintiffs’ request that the Court appoint Simpluris, Inc. as

                                  19   the third-party settlement administrator is granted. See Mot. at 1.

                                  20   IV.      CONCLUSION
                                  21            For the foregoing reasons, the Court GRANTS Plaintiffs’ motion for preliminary approval

                                  22   of class action settlement in accordance with the discussion above. The Court DIRECTS the

                                  23   parties to meet and confer, and to submit to the Court a proposed schedule for further proceedings

                                  24   as follows:

                                  25   //

                                  26   //

                                  27   //

                                  28   //
                                                                                           13
                                         Case 4:16-cv-07185-HSG Document 51 Filed 08/17/18 Page 14 of 14



                                                                        Event                                      Date
                                   1
                                               Deadline to provide class contact information to
                                   2           Settlement Administrator
                                               Deadline for Settlement Administrator to mail
                                   3           notice to all putative class members
                                               Filing deadline for motion for (1) attorney’s fees
                                   4           and costs and (2) class representative incentive
                                               payments
                                   5
                                               Deadline for class members to opt out or object to
                                   6           settlement and/or application for attorney’s fees and
                                               costs and incentive payment
                                   7           Filing deadline for final approval motion
                                               Final fairness hearing and hearing on motions
                                   8

                                   9   The parties shall submit their proposal no later than August 25, 2018. When submitting their
                                  10   motion for final approval, the parties shall include both a joint proposed order and a joint proposed
                                  11   judgment.
                                  12          IT IS SO ORDERED.
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                                  13   Dated: 8/17/2018
                                  14

                                  15

                                  16                                                                HAYWOOD S. GILLIAM, JR.
                                                                                                    United States District Judge
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